VIA EMAIL, FACSIMILE

October 23, 2017

Mr. Jonathan M. Marks
Commissioner, Bureau of Commissions, Elections and Legislation
Pennsylvania Department of State
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Harrisburg, PA 17120
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Fax: (717) 705-0721

RE: NVRA public disclosure request

Dear Disclosure Officer(s):

I am writing to request inspection or copies of records related to your office’s voter list
maintenance obligations under the National Voter Registration Act of 1993 (NVRA).

The National Voter Registration Act of 1993, 52 U.S.C. § 20501 et seq., requires your office to
make available for public inspection “all records concerning the implementation of programs and
activities conducted for the purpose of ensuring the accuracy and currency of official lists of
eligible voters.” 52 U.S.C. § 20507(i).

Pursuant to Section 20507(i) of NVRA, I request that your office reproduce or provide the
opportunity to inspect the following records contained within SURE:

    1. Documents regarding all registrants who were identified as potentially not satisfying the
       citizenship requirements for registration from any official information source, including
       information obtained from the various agencies within the U.S. Department of Homeland
       Security and the Pennsylvania Department of Transportation since January 1, 2006. This
       request extends to all documents that provide the name of the registrant, the voting
       history of such registrant, the nature and content of any notice sent to the registrant,
       including the date of the notice, the response (if any) of the registrant, and actions taken
       regarding the registrant’s registration (if any) and the date of the action. This request
       extends to electronic records capable of compilation.
           a. This request includes all voter records that were referenced in recent news media
               reports regarding individuals improperly exposed to registration prompts due to a
               “glitch” in PennDOT’s Motor Voter compliance system. At least one news report
               claims that “a Pennsylvania Department of State review is underway.”1 I seek all
               voter records contained in this review.



1
 The Philadelphia Inquirer; Glitch let ineligible immigrants vote in Philly elections, officials say (September 20,
2017), http://www.philly.com/philly/news/politics/city/philly-voter-fraud-trump-immigrants-registration-
commissioners-penndot-20170920.html



                                                                                                   Exhibit H, Page 1
   2. All documents and records of communication received or maintained by your office from
      registered voters, legal counsel, claimed relatives, or other agents since January 1, 2006
      requesting a removal or cancellation from the voter roll for any reason related to non-U.S.
      citizenship/ineligibility. Please include any official records indicating maintenance
      actions undertaken thereafter.

   3. All documents and records of communication received or maintained by your office from
      jury selection officials—state and federal--since January 1, 2006 referencing individuals
      who claimed to be non-U.S. citizens when attempting to avoid serving a duty call. This
      request seeks copies of the official referrals and documents indicating where your office
      or local registrars matched a claim of noncitizenship to an existing registered voter and
      extends to the communications and maintenance actions taken as a result that were
      memorialized in any written form.

   4. All communications regarding list maintenance activities relating to #1 through 3 above
      to appropriate local prosecutors, Pennsylvania Attorney General, Pennsylvania State
      Police, any other state law enforcement agencies, the United States Attorney’s office, or
      the Federal Bureau of Investigation.

Understanding that federal file retention laws may impact some disclosures, an optimal grouping
of documents presented per registered voter disclosed would contain the following:

      The completed voter application form (redacted where necessary to prevent disclosures
       of claimed Social Security number and signature);

      Referral documents/transmissions for new or updated voter registration applications
       provided by state agencies charged with National Voter Registration Act (Motor Voter)
       duties;

      Records indicating the “voter profile” or “voter view” or similar feature provided within
       the Statewide Uniform Registry of Electors (SURE) which details all information kept
       per voter, to include but is not limited to:
           o Full name on file (including previous names)
           o Date of birth
           o Voter ID number
           o Voter registration date (including previous dates of registration)
           o Date of last maintenance/update action
           o Reason code(s) for previous maintenance action(s)
           o County of registration
           o Detailed address information history (residential and mailing)
           o Political party designation history (if claimed/recorded)
           o Registration method history (e.g. self, NVRA agency transaction, third-party, etc.)
           o Assigned voting districts history
           o Election participation history in full
           o All internal memoranda stored within each “profile”




                                                                                Exhibit H, Page 2
      All letters, postcards, and other mailings sent or maintained by your office to the voter in
       question with notations for types of postage or method of delivery indicated where
       possible;

      All letters, emails, logged phone calls, documents, and other communications from the
       voter in question maintained within SURE—including those communications from legal
       counsel or claimed relatives on their behalf;

      All documents your office may receive or maintain from federal entities to include but
       are not limited to the U.S. Department of Homeland Security/USCIS detailing inquiries
       regarding registered voters;

      All documents and communications contained in SURE between the registered voter in
       question and county registration officials with respect to pending immigration matters;
       and

      Any documents contained in SURE that were sent to the voter to require that an
       affirmation of citizenship or noncitizenship be given in writing with responses included,
       where applicable.

Should your office require any examples of the above data collected via NVRA request in other
jurisdictions, I would be happy to supply them in electronic format.

If you would like to produce these requested documents in paper or digital form, I can dispense
with the need to visit your office for inspection. I will be in Harrisburg on October 25, 2017 and
would be available for a brief office visit to take delivery of responsive documents or further
discuss this request, if necessary. My contact information is provided below.

Thank you for your service on this matter.


Sincerely,

Noel Johnson
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Public Interest Legal Foundation
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                                                                                   Exhibit H, Page 3
